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lN THE UNITED STATES DISTRICT COURT 540@` "\

 

EASTERN DIVISION
TIMOTHY L. MORTON, §
Plaintift`, §
VS. § No. 05-1114-T/An
CORRECTIONS CORPORATION OF §
AMERICA, ET AL., ij
Det`endants. §

 

ORDER GRANTING MOTlON FOR EXTENSION OF TIME
ORDER TO COMPLY WITH PLRA
ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER DEN YING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Timothy L. Morton, Tennessee Department of Correction (“TDOC”)
prisoner number 324048, Who is currently incarcerated at the Southeastern Tennessee
Regional Correctional Facility (“STSR”) in Pikeville, Tennessee, filed apch se complaint
pursuant to 42 U.S.C. § 1983 on April 15, 2005 in connection With his previous confinement
at the Whiteville Correctional Facility (“WCF”) in Whiteville, Tennessee. The Court issued
an order on April 25, 2005 directing the plaintiff to comply with the Prison Litigation

Reform Act of 1995, 28 U.S.C. §§ l9lS(a)-(b), or remit the full $250 civil filing fec. On

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l\/lay 24, 2005 , plaintiff filed a motion seeking an extension of time to respond to the Court’s
order. For good cause shown, that motion is GRANTED. On June 3, 2005, plaintiff
submitted an informal pauperis affidavit containing a certification by the trust fund officer,
along vvith a motion seeking appointment of counsel. The Clerk shall record the defendants
as the Corrections Corporation of Arnerica (“CCA”) and WCF Warden Stephen Dotson.
l. Assessment of Filing Fee

Underthe Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 19 l 5(a)-(b),
all prisoners bringing a civil action must pay the full filing fee of$250 required by 28 U.S.C.
§ l9l4(a).] The statute merely provides the prisoner the opportunity to make a
"downpayinent” of a partial filing fee and pay the remainder in installments

ln this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer. Although the plaintiff has not
submitted a trust fund account statement, the information supplied by the plaintiff is
sufficient to permit assessment ofthe filing fee. Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that the plaintiff cooperate fully With prison officials in carrying out this order.
lt is ORDERED that, Within thirty (30) days of the entry of this order, plaintiff file a trust
fund account statement for the six months prior to the commencement of this action. lt is
further ORDERED that the trust fund officer at plaintiff’s prison shall calculate a partial

initial filing fee equal to twenty percent (20%) of the greater of the average balance in or

 

l Effective March 7, 2005, the civil filing fee was increased from $lSO to $250.

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deposits to the plaintiffs trust fund account for the six months immediately preceding the
completion of the affidavit. When the account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. If the funds in plaintiffs
account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintifF s account, and forward them
to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
510.00, until the entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it With the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, ] ll S. Highland Ave., .lackson, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

The obligation to pay this filing fee shall continue despite the immediate dismissal

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of this case. 28 U.S.C. § ]9lS(e)(2). lf plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change of address If still
confined he shall provide the officials at the new prison with a copy of this order. lf the
plaintiff fails to abide by these or any other requirement of this order, the Court may impose
appropriate sanctions, including a monetary fine, without any additional notice or hearing
by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the STSR to ensure that the custodian of the plaintiffs inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing
fees However, the Clerk shall not issue process or serve any other papers in this case.

ll . Analvsis of Plaintiffs Claims

Although the complaint is not clearly organized, it appears to assert several claims
related to the plaintiffs disability. The plaintiff apparently suffers from a T-8 wedge
fracture of his back and, as a result, the TDOC issued him a Prosthetic Durable Medical
Equipment Receipt authorizing him to have an extra mattress On or about November 10,
2004, in the course of a facility lockdown, each cell was checked for contraband Sergeant
Beaver, who is not a party to this action, took the plaintiffs extra mattress The documents
submitted by the plaintiff indicate he was issued a new Prosthetic Device/Durable l\/ledical

Equipment Receipt,_dated December 16, 2004, Stating that he is entitled to an extra mattress

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and an extra blanket until his release from TDOC custody. Subsequently, on December 17,
2004, plaintiff received a write up for refusing a direct order after a verbal altercation with
a corrections officer. That incident stemmed from an officer’s refusal to immediately issue
the plaintiff a new mattress because the property room was closed. The plaintiff also alleges
that, upon his arrival at the WCF on June 25, 2004, he was not given a work assignment due
to his medical limitations As a result, the plaintiff is unable to earn sentence credit. The
plaintiff seeks monetary compensation

T he Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies Brown v.
mills 139 F.3d 1102 (6th Cir. 1998); _s_e__e_ Porter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims Knuckles El v.
To_omb§, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S,C.
§ 1997e(a):

a prisoner must plead his claims with specificity and show that they have been
exhausted by attaching a copy of the applicable administrative dispositions to

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the complaint or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome

Knuckles El, 215 F.3d at 642; see also Bovd v. Corrections Corr). ofAm., 380 F.3d 989,
98 5-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison
officials fail to respond in a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege
exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); QM
M, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to
dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,
196 F.3d 641 , 645 (6th Cir. 1999). Finally, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § l997e(a), that
contains any unexhausted claims Jones Bey v. Johnson, 407 F.3d 801, 805~09 (6th Cir.
2005).

The plaintiff has not satisfied his burden of demonstrating that he exhausted each of
his claims The plaintiff submitted a Copy of a grievance, dated December 15, 2004,
concerning the removal of his mattress That grievance was rejected as untimely on
December 16, 2004. Although the untimeliness of the grievance has no bearing on the

plaintiffs compliance with 42 U.S.C. § 1997e(a), Thomas v. Woolum, 337 F.3d 720, 723

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(6th Cir. 2003), this grievance did not purport to exhaust plaintiffs claims against defendant
Dotson, the only individual defendant named in the complaint, as required by Moorer v.
B_rige_, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not exhaust claim against
warden because his grievance did not identify the warden or articulate any claim against
her). §§an_as_, 337 F.3d at 733-34; CLry, 249 F.3d at 504.

The complaint does not indicate the resolution of the disciplinary write-up the
plaintiff was issued for disobeying a direct order.

lt also does not appear that the plaintiffhas exhausted his claim concerning the failure
to assign him a prisonjob. The plaintiff also submitted a grievance on February 16, 2005
that seems to have something to do with backpay. The complaint does not indicate the
resolution of this grievance Plaintiff also filed another grievance concerning backpay on
February 28, 2005, which was rejected on l\/Iarch 1 1, 2005 as duplicative ofanother pending
grievance These grievances are, at best, only tangentially related to the claim concerning
failure to assign the plaintiff to a prison job, and the grievances do not mention defendant
Dotson.2

The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of

 

2 Although the plaintiff has also attached several memoranda that he wrote to various persons inside and
outside his prison, these documents have no bearing on whether he satisfied the requirements of § 1997e(a). The
Sixth Circuit has held that an inmate’s letters and petitions are no substitute for a formal inmate grievancel
Shephard v. Wilkinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts that he has raised
his complaints in numerous letters to prison and public ofEcials, a prisoner must utilize the formal grievance process
provided by the state; he cannot comply with the requirements of § 1997e(a) by informally presenting his claims.”);
l-lewell v. Leroux, 20 Fed. Appx. 375, 377 (6th Cir. Sept. 21, 2001) (same); see also Clark v. Beebe, No. 98-1430,
1999 WL 993979, at *2 (6th Cir. Oct. 21 , 1999) (district court erred in holding that prisoner had substantially
complied with exhaustion requirement by writing a letter to the U.S. Attorney’s office that eventually made its way
to the warden of plaintiffs prison).

 

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administrative remedies through ‘particularized averments’ does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponte.” M, 305 F.3d
at 489.3 l\/loreover, pursuant to the recent decision in J ones Bey, a district court must dismiss
any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims As a result, a case must be dismissed unless a prisoner has exhausted each
of his claims with respect to every defendant named in each claim. Foushee v. Wiggins, No.
3:05CV7108, 2005 WL 1364613, at *3 (N.D. Ohio June 8, 2005). Accordingly, the Court
DlSl\/IISSES the complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a). ln light of the dismissal of this action, the motion for appointment of counsel
is DENIED.
lll. Appeal issues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision informal pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken informer pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. CoppedgLv. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous l_d.
Accordingly, it would be inconsistent for a district court to determine that a complaint

should be dismissed prior to service on the defendants, yet has sufficient merit to support an

 

3 As the Sixth Circuit explained, “lf the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

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appeal informer pauperis See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir.

 

1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment ofa filing fee if plaintiff appeals
the dismissal ofthis case.“‘ ln McGore v. Wrigglesworth, 114 F.3d 601, 610-l 1 (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures
for paying the appellate filing fee, he must comply with the procedures set out in M§
and § 1915(b).

ill
lT IS SO ORDERED this 5 day of August, 2005.

%<);M»t

JAMES n./ToDD “
uNiTED srA'ras DisrRicr JUDGE

 

4 Effective November l, 2003, the fee for docketing an appeal is 8250. _S_eg Judicial Conference Schedule
of Fees,‘ll 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a 85 fee.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CV-01 114 was distributed by fax, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Timothy L. l\/lorton
324048

Rt. 47 Box 600
Pikeville, TN 37367

Honorable .l ames Todd
US DISTRICT COURT

